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PROB 12
(Rev. 11/04)

                               United States District Court
                                                    for
                                      CENTRAL DISTRICT OF CALIFORNIA

U.S.A. VS. Kais Mohammad                                     Docket No.: 8:20-CR-00088-JLS

                             Petition on Probation and Supervised Release (Modification)

       COMES NOW NATASHA ALEXANDER-MINGO , CHIEF PROBATION & PRETRIAL SERVICES
OFFICER OF THE COURT, presenting an official report upon the conduct and attitude of Kais Mohammad who
was placed on supervision by the Honorable JOSEPHINE L. STANTON sitting in the Court at Los Angeles,
California, on the 28th day of May, 2021 who fixed the period of supervision at two years, and imposed the
general terms and conditions theretofore adopted by the Court and also imposed special terms and conditions as
noted on the attached Judgment and Commitment Order(s).


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

        In response to Kais Mohammad’s request to relocate from the Central District of California to the Eastern
District of California (ED/CA), on April 5, 2022, the USPO in the ED/CA requested Mr. Mohammad’s
supervision conditions be modified to include a search condition. The purpose of this request is to ensure Mr.
Mohammad is monitored appropriately in the ED/CA.

The supervisee and defense counsel consent to modification and waive a personal appearance before the Court.

PRAYING THAT THE COURT WILL ORDER Kais Mohammad, as a special condition of supervision, shall
submit to a search, at any time, with or without warrant, and by any law enforcement or probation officer, of the
offender's person and any property, house, residence, vehicle, papers, computers, cell phones, other electronic
communication or data storage devices or media, email accounts, social media accounts, cloud storage accounts,
effects and other areas under the offender's control, upon reasonable suspicion concerning a violation of a
condition of supervision or unlawful conduct by the offender, or by any probation officer in the lawful discharge
of the officer's supervision functions.




                 ORDER OF COURT                                       Respectfully,

Considered and ordered this 21st day of April , 2022                  /S/ AVA AUSTIN
and ordered filed and made a part of the records in the               Supervising U.S. Probation & Pretrial
above case.                                                           Services Officer
                                                                      Place:    Inglewood, California
           /s/ JOSEPHINE L. STATON                                    Approved: /S/ TANISHA MCNEAL
              United States District Judge                                      Supervising U.S. Probation & Pretrial
        HONORABLE JOSEPHINE L. STANTON                                          Services Officer
                                                                      Date:       April 20, 2022
